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FIFTH JuDIcIAL cIRcUIT. IN AND
FOR MARION COUNTY, FLoR_IDA

case No.: OV"//??~ €AG~
guzman L. sPELL,
" v ~ '/Z`j'
Plainr.iff, y 5 6-0'-//@1/" 519 §§ /¢9 6
vs. '

COX LUMBE!R COMPANY, INC. ,-
a/k/a COX LUMBER CO.,
and REGINALD TOMAINE,

Defendancs.
/

COMPLAINT

Plaintiff Sherrie L. Spell, by and through her undersigned

 

 

counsel. sues Defendants Cox Lumber Company, Inc., a/k/a Cox Lumber
Co. (heroinaf:or “Cox Lumber”), and Reginald Tomaine lhereinafcer
“Tomaine”), and avers:

LVERMENTS COMMON TO ALL CAUSES OF ACTION

 

1. This is an action for damages than exceed 515,000.
2. Plaintiff is a female citizen of the United Staces of
America and, at all times material to this accion, was an employee

of Cox Lumber in Florida§

3'- Defendant Cox§Lmnber is a Florida corporation which
maintains an ordinary place of business in Marion County, Florida.
Ah all timun material co this accion, Sherrie L. Spell was an
en\l_" -\\,/'.-.\e of the '-->'. Lum)'.\/;»r J.-~~"‘»L’i'on’ in 00 l. MF`*rion (.~"-'“'\Y`Y,

Florida.

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4. Defendant Tomaine is an individual who at all times
material hereto, was employed as a supervisor and/or manager by Cox
Lumber at its location in Marion County, Florida.

5. This is an action arising under the laws of the United
States of America and State of Florida, in particular Title VII of
the Civil Rights Act of 1364, as amended, 42 U.S.C. § 2000(€)(1-6);
the Civil nghts Act of 1991, 42 U.S.C. §lSSl, as well as Florida
Civil Rights Act of 1992, §760.01, et seq.

6. Claims also are stated under the common law of the State
of Florida against the Defendants.

7. At all times material hereto, Plaintiff was employed by
Cox Lumber in Marion County, Florida.

8. At all times material hereto, Defendant Cox Lumber has
maintained, acquiesced in the maintaining Of. Or failed to take
appropriate required action to eliminate a general and consistent
pattern and practice of sexual harassment by managers and
supervisors against female employees in their Ocale. locacien_

9. Such pattern’ and practice has been consistently
manifested during the £Plaintiff's employ and prior to the
Plaintiff's filing of a complaint with the Equal Employment
Opportunity Commission (EEOC), submitted on or about September 5,
2003.

10. Throughout the course and scope of her employment with
Cox anbe. the Plainti.; was subjeth to harassmen on the basis

of gender by her supervisors and management. Plaintift was subject

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to a hostile sexual environment. and Plaintiff was continually
sexually harassed by supervisors and other male personnel at COX
Lumber. Among other incidents, inappropriate sexual comments were
made to Plaintiff by both male and female managers that Plaintiff
had “nice breasts,” “a nice ass," and “the best ass.” Plaintiff
was told by her manager that Plaintiff had nice breasts. Another
manager told Plaintiff he,would like to take her back to his office
and have sexual relations with her, but his office had too many
windows. Another manager cornered Plaintiff next to the copy
machine. Male managers also told her they would like to see her in
a wet t~shirt. Defendant Tomaine went so far as to gulp water and
then spit it on Plaintiff's blouse and breast, so as to view
Plaintiff's breast when wet. On another occasion, Plaintiff was
told to sit on the owner's lap and be friendlv. Plaintiff was also
called a bitch, a slut and a whoro by numerous managers.

ll. At all times material hereto, Plaintiff made it clear to
all employees, managcr:, supervisors and owners of Cox Tn_unhe.r that
such comments and actions were not welcome.

12. All of the above sexual harassment and abuse was reported
by Plalntiff to her supervisors and upper management who told her,
inter alia, that was the way it was at Cox Lumber and if she wanted
to keep her job she needed to play along.

l3. ¢'\I' all times material hereto, the directors .~'=.nd officers
or 1~fcndant Cox 1mher was aw. ~ of the furr -ing discrimdvatory

practices and took no action to abate same. lndeed, Plaintiff's

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reporting of the sexuah abuse and harassment only resulted in
further sexual abuse and harassment. Defendant went so far as to
discipline Plaintiff for her complaints against sexual harassment.

14. when Plaintiff continued to complain of the sexual
harassment and a sexually hostile environment, Defendant Cox Lumber
began disciplining Plaintiff for minor infractions when other male
employees were not. disciplined for Same, changing the \Jorking
conditions of Plaintiff;s employment and otherwise retaliating
against Plaintiff for Plaintiff's claims of sexual hostility and
harassment.

lS. When the repeated series of sexual harassment, as
described in paragraphs 10-14 above did not abate, Plaintiff was
constructively discharged and resigned against her will.

16. This suit is being brought within 90 days of the receipt
by Plaintiff of notice by the EEOC of a right to sue Defendants
under the Federal and State laws enforced by the United States
Equal Employment Opportunity Coumussion and the Florida Commission
on Human Relations. A copy of said Notice is attached hereto as

Exhibit “A”.

COUN I
(Violation of Titlo VII of the Civil Rights Act
of 1964, as amended, 42 U.S.C. §2000(3)(1~6))
Against Defendant Cox Lumber Only
17. Plaintir¥ hereby incorporates parag»nnhs 1 through 16

above ss ‘ully and t -»Jetely as F set forth at len th.
g

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18.

Title VII of the Civil Rights Act of 1964 as amended, 42
U.S.C. §2000(@)(1-6)

(hereinafter “Civil Rights Act“) prohibits

employment practices which discriminate against employees

s based on
their gender, as well as sexual harassment.

19. For the reasons

stated iri paragraphs
Derendant Cox Lumber violated the “Civil Rights Act
20.

8 through lS,

The Civil Rights Act provides for a private right of

action based on gender discrimination and/or sexual harassme

nt.
WHEREFORE.

Plaintiff demands judgment against Defendant Cox
I.umber together with compensatory, liquidated and p

unitive domages,
attorney's fees,

costs and interest as well as reinstatement back
and front pay and value of benefits, and any other relief deemed

gust and proper by this Honorable Court

QQQNI_JI

(Florida Civil Rights Act of 1992, §760.01, et seq.)
Again=t Defcndant Cox Lumbor Only

21. Plaintiff hereby incorporates paragraphs l through 20

above as fully and completely as if set forth at length

22. The Florida Civil Rights Act of 1992 prohibits employmont

practices which discriminate against employees based on their
gender.

23. Plaintiff hasi complied with

all administrative
prerequisites under the Florida'Civil nights Pct
24. Foi reasons oiated in. pdi - nphs 8 thin qh 15,

Detcndant Cox Lumb:r violated th» Florida:Civi§ Rights Act.

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25. The Florida Civil Rights Act provides for a private right
of action based on gender.

WHEREFORE, Plaintiff requests judgment against Defendant Cox
Lumber, including back pay, mental anguinh, loss of dignity and
other intangible damages and punitive damages.

COUNT III

(Intentional Infliction of Emotional Distress)
Against all Defendants

26. Plaintiff hereby incorporates paragraphs l through 25
above as fully and completely as if set forth at length.

27. At all times material heretoJ Defendants knew, or should
have known. their harassment of Plaintiff would likely lead to
severe emotional distress.

26.4 Defendant$' actions as described aforesaid, including
inter alia, continually sexually harassing Plaintiff, making
inappropriate sexual comments to Plainti£f that blaintiff had “nico
breaste,” “a nice ass,” and “the best ass," telling Plaintiff that
Plaintiff had nice breasts, that they would like to have sexual
relations with her. cornering Plaintitf near the copy machine, and
indicating that they would like to see her ill a wet t-shirt,
spitting water on Plaintiff's blouse, so as to view Plaintiff's

breast when wet, telling her to sit on the owner's lap and be

iy€endly. calling Plaintiff s\ bitch, a slur and aa whoro, and
discjp. -ing Plaint». for her compl 'nts against . l"-.1al harassii
Constitutt xonduct a jury can find was nnhrageous, gorin beyond all

 

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bounds of decency. and of;a nature to be regarded as odious and

utterly intolerable in a Civilized community.

29. Defendants' actions as described aforesaid resulted in

severe emotional distress for Plaint~iff"..

WHEREFORE, Plaintiff demands judgment against Defendants for
severe emotional distress together withl compensatory damages,
punitive damages,' attorneys fees, interest and coets. 4

CoUN'r Iv_

(Battery)
Against Defendant Tomaine Only

30. Plaintiff hereby incorporates paragraphs l through 29
above as fully and completely as if set forth at length.

31. ln spitting on Plaintiff to expose Plaintiff's breast
when wet, Defendant Tomaine intentionally touched Plaintiff in an
offensive manner against her will. .

32. Such touchingis a Battery under Florida Statute §784.03.

33. As a result of Defendant ’T‘nma\`ne's Battery. Plaintiff was
caused to suffer physical discomfort, embarrassment, humiliation
and severe emotional distressi

WHEREFORE, Plaintiff demands judgment against De£endant
Tomiane together with.compensatory and punitive damages, attorney's

fees and costs.

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CQHNIJ!

(Invasion of Privacy)
Against`Defenddnt Tomaina Only

34. Plaintiff incorporates paragraphs l through 33 above as
fully and completely as if set forth at length.

35. Defendant Tomaine's offensive touching of the most
private 'parts of Plaintiff's body constitutes an invasion of
privacy.

36. As a result of Defendant`Tomaine's invasion of privacy,
Plaintiff was caused to suffer physical discomfort, embarrassment,
humiliation, loss of dignity and mental anguish. n

wHERBFORE, Plaintiff demands judgment against Defendant

Tomaine together with compensatory'and punitive damages, attorney's

fees and costs.

COQNT VI

(Negligent Retention)
Against Defendant Cox Lumber Only

37. Plaintiff incorporates paragraphs l through 36 above as
fully and completely as if set forth at length.

38. Upon being made aware by Plaintiff of the ongoing sexual
harassment, Defendant.took no action to abate same and in fact told
Plainti£f she would haveito continue to take it if she wanted her
job.

9. li;>on being mode aware by D; §ntif£ of thc wffensive amc

L\)

unwelcome touching of her body and other sexual harassment by

Case~5:04-cV-003~18-WTH-GR.] Document 2 Filed 07/12/04 Page 9 of_10AF_>age|-D 14:

`supervisors and managers at Cox Lumber,
further action such as in
of said supervisors and managers,

and State Civil Rights Acts.

WHEREFORE,

Defendant failed to take

vestigating, discharging or reassignment

who were in violation of Federal

Plaintiff demands judgment against Defendant Cox

Lumber, together with compensatory and punitive damages. attorney's

fees and costs.

MK/cjf

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury of all issues so triable.

Respectfully submitted,

 

IDANIEL L. HIGHTOWER, P

    

 

 

MICHAEL KARASIK, ESQUIRE
Florida Bar No. 0848492

7 E. Silver Springs Blvd.
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Ocala, Florida 34470
(352) 629-7777 (Telephone)
(352) 629-6431 cFax) ‘
Attorneys for Plainti££

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$ullo 2700
Oca|a, FL 34478 l M|aml. FL 33131

m On behalf ofperso/l(s) aggrieved whose ldenll`ly ls
coer/Dl:rvnAl. (29 c/'n § 1601_7(¢))

 

Charge No. EEOC Represenlallve Talephone No.

' Jimmie Mack,
150-2003-04306 lnvcstigator (305) 530-8035

($ee also the additional lnfonnatlon enclosed with this form.)

 

NoTlcE 10 THE PERSON AsGRlEon:

Tll|e Vll of \ho Clvll nghts Act of1964 and/or the Amerlcans wlth Dlsabilitlas Acl (ADA): Thia is your Notlca of Righ! to Sue. issued
under Tille Vll and/or rha ADA based on the above-numbered charge. ll has been issued al your request Your lawsuit under Tlue Vll or

the ADA musl be fllad ln federal or state coun WlTHlN SQ QAYS of your recelpt of this Notico oryour rlghtro sue based on this charge
W`l|l be |OS!- (The lime limit for l`l|ing Sl.lit based on a stale claim may be d\flerenl_)

m Mole man ‘lBO days have passed since lhc l'lling of this ohargc.

Less than 180 days have passed since the filing of this charge, bul l have determined that it ls unlikely lha\ the EEOC will
be able lo complete lls administrative promising within 180 days from lhe llllng ol the charge

The EEOC is terminating its processing of t_ is charge.
|
f:] The EEOC will continue lo process \hls charge.

Age Dlscrlmlnalion ln Employment Acz (ADEA): You may sue under the ADEA al anytime from 60 days afier the charge was rlled

uan 90 days after you receive notice that we have completed action on the charge. ln lhls regard_ the paragraph marked below
appllos to your casa‘.

,__

l_| Tho EEOC is closing your case Thereiore, your lawsuit under the ADEA must bo flle ln federal or stats court W!"',Hl.‘l
_90 DA¥S of your receipt of this Notlca` Olherwise, your right lo sue based on the above-numbered charge will be loal.

 

m The EEOC ls continuing its handlan of yourADEA case. Howevor, if 80 days have passed since the Hlin

g of your charge,
you may llle suit in federal or stale courl under the ADEA al lhls lime.

Equal Pay Ac! (EPA): ¥ou already have the rlght lo sue under the EPA (filing an EEOC charge ls nol requlred.) EPA sulls must be
brought in federal or stale courtwllhin 2 years (3 years for willful vlolatlons) of the alleged EPA underpayment Thls means that backpay
due for any vlola\lons that occurred more than 2 years (3 years] before you flla suit may not be collactiblo.

ll you file suit based on this charge, please send a copy ol your coun complaint to lhls ofl'\ce.

On behalf ol the Commisslon

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